8:16-cr-00062-RFR-SMB       Doc # 221    Filed: 12/20/17    Page 1 of 1 - Page ID # 588




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )                 8:16CR62
                                           )
      vs.                                  )
                                           )
FRANCISCO GOMEZ,                           )                  ORDER
MANUEL ORTIZ,                              )
MARIA ROBLES-ROJAS,                        )

                   Defendants.


       This matter is before the court on defendant Maria Robles-Rojas’ Unopposed
Motion to Continue Trial [220]. Counsel was recently appointed and requests addition
time to conduct plea negotiations. For good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [220] is granted, as follows:

      1. The jury trial, for all defendants, now set for January 2, 2018 is continued to
         February 26, 2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and February 26, 2018, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED December 20, 2017.

                                        BY THE COURT:


                                        s/ Susan M. Bazis
                                        United States Magistrate Judge
